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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                       Plaintiffs,                                       4:13CR3025
       vs.
                                                            MEMORANDUM AND ORDER
JESUS SAMANIEGO-GARCIA and
NOE LOERA,
                       Defendants.

       Defendant, JESUS SAMANIEGO-GARCIA, has moved to continue the pretrial motion deadline,
(Filing No. 32), because the defendant has new counsel who needs additional time to review this case and
confer with the defendant before deciding if pretrial motions should be filed. The motion to continue is
unopposed. Based on the showing set forth in the motion, the court finds the motion should be granted.
Accordingly,

       IT IS ORDERED:

       1)      Defendant Jesus Samaniego-Garcia’s motion to continue, (filing no. 32), is granted.

       2)      As to both defendants, pretrial motions and briefs shall be filed on or before May 3,
               2013.

       3)      As to both defendants, the trial of this case is continued pending resolution of any
               pretrial motions filed.

       4)      The ends of justice served by granting the motion to continue outweigh the interest of the
               defendant and the public in a speedy trial. Accordingly, as to both defendants, the
               additional time arising as a result of the granting of the motion, the time between today’s
               date and May 3, 2013, shall be deemed excludable time in any computation of time under
               the requirements of the Speedy Trial Act, because despite counsel’s due diligence,
               additional time is needed to adequately prepare this case for trial and failing to grant
               additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(1), (h)(6) &
               (h)(7).


               March 27, 2013.

                                                        BY THE COURT:

                                                        s/ Cheryl R. Zwart
                                                        United States Magistrate Judge
